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                  UNITED STATES DISTRICT COURT
     FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                               Eastern Division

Herman Williams
                                  Plaintiff,
v.                                                     Case No.: 1:23−cv−05945
                                                       Honorable Sunil R. Harjani
Lucian Tessmann, et al.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, May 19, 2025:


         MINUTE entry before the Honorable Daniel P. McLaughlin: Defendants'
Unopposed Motion for Additional Time to Respond to Plaintiff's Motion to Quash [229]
is granted. Defendants' response to Plaintiff's Motion to Quash Second Subpoena to
Illinois Department of Corrections for Jail Phone Calls [225] is now due 5/19/25 and
Plaintiff's reply is due 5/27/25. Mailed notice(maf)




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